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   7                            UNITED STATES DISTRICT COURT
   8                          SOUTHERN DISTRICT OF CALIFORNIA
   9   UNITED STATES OF AMERICA,        )               Case No. 07-CR-0657-WQH
                                         )
  10                Plaintiff,           )              ORDER SUBSTITUTING ATTORNEY
                                         )
  11   vs.                              )
                                         )
  12   Leonel Guillermo Prieto-Chavez    )
                                         )
  13                Defendant.           )
                                         )
  14   _________________________________)
  15
  16                                           ORDER
  17
  18          IT IS HEREBY ORDERED that Attorney Nancee S. Schwartz shall be substituted
  19   in place and instead of the Office of David Arredondo for all purposes in the above-entitled
  20   matter.
  21   DATED: January 10, 2008
  22
                                                      WILLIAM Q. HAYES
  23                                                 United States District Judge
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